                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 A.M.C., by her next friend, C.D.C., et al.,      )
                                                  )
        Plaintiffs,                               )
                                                  )
 v.                                               )   NO. 3:20-cv-00240
                                                  )
 STEPHEN SMITH, in his official                   )
 capacity as Deputy Commissioner of               )
 Finance and Administration and Director          )
 of the Division of TennCare,                     )
                                                  )
        Defendant.                                )

                                             ORDER

       The Court held a hearing in this matter on March 4, 2022. For the reasons stated on the

record, the Court orders as follows:

       (1) Defendant’s Motion to Dismiss (Doc. No. 139) is DENIED.

       (2) Plaintiffs may file a motion to amend the Complaint (Doc. No. 1) to add additional

named plaintiffs within 30 days of the entry of this Order.

       (3) The parties shall confer regarding possible resolutions to this matter, and file a notice

on the record stating they have done so, within 30 days of the entry of this Order.

       (4) Defendant must file a notice on the record 45 days before lifting the existing

moratorium on TennCare disenrollments.

       (5) If Defendant terminates any TennCare enrollees’ coverage during the existing

moratorium, Defendant shall file a notice with this Court under seal stating the identity of the

terminated enrollee and the reason for their termination. The parties shall confer regarding the

optimal form these notices should take and the optimal frequency with which they should be filed.

The parties shall present their proposal for these notices in a joint filing no later than March 10,




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2022. The parties shall attach to that filing a list of the exceptions that allow for disenrollment

during the moratorium.

       IT IS SO ORDERED.



                                                     ____________________________________
                                                     WAVERLY D. CRENSHAW, JR.
                                                     CHIEF UNITED STATES DISTRICT JUDGE




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